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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

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                                        This Order Relates To:                               ORDER REGARDING FILING
                                  10                                                         MATTERS BEFORE SPECIAL
                                                                                             MASTERS ON ECF
                                  11    ALL ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Currently before the Court is a motion to compel production of certain reports and to

                                  14   shorten time. See ECF No. 4191. Upon review, it appears that this motion is directed to the

                                  15   attention of Special Master Martin Quinn rather than the Court. In fact, Special Master Quinn

                                  16   subsequently granted the motion to shorten time and set deadlines for the remainder of the

                                  17   requested relief. ECF No. 4193.

                                  18          The purpose of this order is to remind the parties that motions and other papers directed to

                                  19   the attention of the Special Master are to be served on him but not, in the first instance, to be filed

                                  20   with the Court. See ECF No. 4077 at 6. Only if a party subsequently objects to, or requests other

                                  21   relief regarding, an order or recommendation of the Special Master does that party then file a copy

                                  22   of the record that was before the Special Master. Id. at 7. The Court also retains the right to

                                  23   request that such materials be filed.

                                  24          IT IS SO ORDERED.

                                  25   Dated: November 18, 2015
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                                  26
                                                                                                       JON S. TIGAR
                                  27                                                             United States District Judge

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